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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 LUDALE RANDY JONES,                 )
                                     )
                   Petitioner,       )                 Case No. 1:99-cv-518
                                     )
 v.                                  )                 Honorable Richard Alan Enslen
                                     )
 DAVID GUNDY,                        )
                                     )
                   Respondent.       )
 ____________________________________)

                                             OPINION

                This was a habeas corpus action brought by a state prisoner pursuant to 28 U.S.C.

 § 2254. The habeas corpus petition, filed on July 12, 1999, challenged Petitioner’s 1988 convictions

 for first-degree murder, two counts of assault with intent to commit murder, armed robbery and

 possession of a firearm during the commission of a felony. By Opinion and Judgment entered

 August 16, 1999, this Court dismissed the petition as untimely under the one-year statute of

 limitations applicable to habeas corpus actions. 28 U.S.C. § 2244(d)(1). The Sixth Circuit Court

 of Appeals refused Petitioner a certificate of appealability. On February 3, 2004, 16 years after his

 convictions, Petitioner filed a motion for relief from judgment pursuant to Fed. R. Civ. P. 60(b),

 contending that this Court’s calculation of time for purposes of the statute of limitations was

 rendered incorrect by a 2003 decision of the Sixth Circuit Court of Appeals. Upon review of the

 record, the Court determines that Petitioner has not alleged grounds for relief from judgment under

 any of the provisions of Rule 60(b).
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                                 Procedural and Legal Background

                 Petitioner is serving a sentence of life imprisonment without the possibility of parole

 imposed by the Detroit Recorder’s Court on October 6, 1988, after Petitioner was convicted by a jury

 of first-degree murder, two counts of assault with intent to commit murder, armed robbery and

 possession of a firearm during the commission of a felony. The Michigan Court of Appeals affirmed

 his conviction on January 14, 1991, and the Michigan Supreme Court denied his application for

 leave to appeal on September 30, 1991.

                 The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) was enacted

 effective April 24, 1996. The AEDPA imposed a one-year statute of limitations within which a state

 prisoner might seek federal habeas corpus relief. 28 U.S.C. § 2244(d)(1)(A). The Sixth Circuit

 Court of Appeals thereafter held that a one-year grace period applies to convictions, such as

 Petitioner’s, which became final before the effective date of AEDPA. See Austin v. Mitchell, 200

 F.3d 391, 393 (6th Cir. 1999). If Petitioner had not pursued any post-conviction remedies in state

 court, this one-year grace period would have expired on April 24, 1997. During the grace period,

 however, Petitioner filed a motion for post-conviction relief in the state trial court. At the time the

 state-court motion was filed on April 18, 1997, 359 days of the limitations period had already

 expired, leaving Petitioner with a total of six days in which to file his federal habeas corpus petition.

 The state courts denied Petitioner relief, with the Michigan Supreme Court denying leave to appeal

 on April 27, 1999. Petitioner did not seek a writ of certiorari in the United States Supreme Court.

                 Petitioner filed this habeas corpus action on July 12, 1999. In an opinion dated

 August 16, 1999, this Court analyzed the issue under the law as it then stood. As the Sixth Circuit

 Court of Appeals had not then decided the issue, this Court relied on the prevailing authority from

 other circuits in holding that the time for seeking certiorari in the United States Supreme Court to

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 review the denial of state post-conviction relief did not toll the running of the limitations period. See

 28 U.S.C. § 2244(d)(2) (the running of the statute of limitations is tolled when “a properly filed

 application for State post-conviction or other collateral review with respect to the pertinent judgment

 or claim is pending”). Petitioner appealed the dismissal of his petition. The Sixth Circuit denied

 Petitioner a certificate of appealability on February 7, 2000. This Court’s determination was

 reaffirmed the following year by the Sixth Circuit’s decision in Isham v. Randle, 226 F.3d 691 (6th

 Cir. 2000). Isham held that the AEDPA limitations period is not tolled during the 90-day period in

 which a petitioner could (but did not) seek certiorari review of the denial of his state motion for

 post-judgment relief. 226 F.3d at 695.

                 Petitioner’s motion for relief from judgment, filed in this Court on February 3, 2004,

 relies upon the decision of the Sixth Circuit in Abela v. Martin, 348 F.3d 164 (6th Cir. 2003) (en

 banc). The Abela decision confronted a situation in which the petitioner did in fact seek certiorari,

 thus raising the question whether the limitations period is tolled during the time in which a state

 prisoner seeks certiorari review of denial of his state motion for post-conviction relief. The en banc

 Sixth Circuit, rejecting the law of all other circuit courts of appeals, held that the limitations period

 was indeed tolled during the pendency of the certiorari petition. 348 F.3d at 169-71. The en banc

 court also repudiated Isham, in which no petition for certiorari had actually been filed, thereby

 establishing a new blanket rule for this circuit: “The statute of limitations is tolled from the filing

 of an application for state post-conviction or other collateral relief until the conclusion of the time

 for seeking Supreme Court review of the state’s final judgment on that application independent of

 whether the petitioner actually petitions the Supreme Court to review the case.” 348 F.3d at 172-73.

 On the basis of Abela, Petitioner sought relief from judgment pursuant to Fed. R. Civ. P. 60(b)(5)



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 and (6), arguing that this Court’s computation of the limitations period was erroneous and that his

 petition was timely filed under Abela.

                This Court construed the petition as a second or successive petition, and thus,

 transferred it to the Sixth Circuit. See In re Sims, 111 F.3d 45, 47 (6th Cir. 1997). In an order issued

 on September 26, 2005, the Sixth Circuit found that under the Supreme Court’s recent decision in

 Gonzales v. Crosby, 125 S. Ct. 2641, 2651 (2005), Petitioner’s motion for relief from judgment was

 not a second or successive petition. Accordingly, the Sixth Circuit transferred the case back to this

 Court for further proceedings. In November 2005, Petitioner attempted to file a motion to

 amend/supplement his motion for relief from judgment and a supporting brief. The Court issued an

 order rejecting the pleadings on November 8, 2005. In response, Petitioner filed his motion for

 reconsideration of the order rejecting pleading, a notice of appeal with regard to the order rejecting

 and a motion for certificate of appealablity.

                                              Discussion

                                                    1.

                In light of the Sixth Circuit’s September 26, 2005 order transferring Petitioner’s

 action back to this Court for further proceedings, this Court erred in rejecting Petitioner’s proposed

 motion to amend/supplement his motion for relief from judgment. Accordingly, the Court will grant

 Petitioner’s motion for reconsideration of the Court’s order rejecting pleading. The Clerk of the

 Court will be directed to accept Petitioner’s motion and supporting brief for filing as of November

 2, 2005, the day it was received by the Court. The Court has considered Petitioner’s motion to

 amend/supplement his motion for relief from judgment and supporting brief in reaching its decision

 below. Because the Court has granted Petitioner the requested relief, his appeal of the Court’s order



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 rejecting pleading is no longer necessary. Accordingly, the Court will deny as moot Petitioner’s

 motion for certificate of appealability.

                                                          2.

                   Rule 60(b) authorizes the district court to relieve a party in a civil action from a final

 judgment, on the following enumerated grounds:

                    (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly
          discovered evidence which by due diligence could not have been discovered in time
          to move for a new trial under Rule 59(b); (3) fraud (whether heretofore denominated
          intrinsic or extrinsic), misrepresentation, or other misconduct of an adverse party; (4)
          the judgment is void; (5) the judgment has been satisfied, released, or discharged, or
          a prior judgment upon which it is based has been reversed or otherwise vacated, or
          it is no longer equitable that the judgment should have prospective application; or (6)
          any other reason justifying relief from the operation of the judgment.

 FED . R. CIV . P. 60(b). In the present case, Petitioner’s Rule 60(b) motion relies on a change in

 decisional law occurring approximately three years after entry of this Court’s order dismissing

 Petitioner’s habeas corpus petition as untimely. Upon review, the Court determines that none of the

 provisions of Rule 60(b) authorizes relief in these circumstances.

                   In his motion for relief from judgment, Petitioner invokes the provisions of Rule

 60(b)(5) and (6).1 Rule 60(b)(5) authorizes relief when the judgment has been satisfied, released,

 or discharged, “or a prior judgment upon which it is based has been reversed or otherwise vacated.”

 Relying on this provision, Petitioner asserts that this Court’s Judgment was predicated upon the

 Sixth Circuit decision in Isham, which was repudiated by the en banc court in Abela. It is well

 settled, however, that Rule 60(b)(5) does not authorize relief from a judgment on the grounds that




          1
          Petitioner could not have invoked grounds (1), (2), or (3), which must be raised within one year of the entry
 of judgment. F ED . R. C IV . P. 60(b). See McDowell v. Dynamics Corp. of Am., 931 F.2d 380, 383 (6th Cir. 1991).

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 the law applied by the court in making its adjudication has been subsequently overruled or declared

 erroneous in another, unrelated proceeding. Professor Wright summarizes the rule as follows:

                 The second ground, that a prior judgment upon which the present judgment
        is based has been reversed or otherwise vacated, obviously is sound but also has very
        little application. This ground is limited to cases in which the present judgment is
        based on the prior judgment in the sense of claim or issue preclusion. It does not
        apply merely because a case relied on as precedent by the court in rendering the
        present judgment has since been reversed.

 11 CHARLES ALAN WRIGHT , ARTHUR R. MILLER, AND MARY KAY KANE, FEDERAL PRACTICE &

 PROCEDURE § 2863 at 334-35 (2d ed. 1995) (emphasis added). The Sixth Circuit has long adhered

 to this rule. See Berryhill v. United States, 199 F.2d 217, 219 (6th Cir. 1952). Relief is clearly

 unavailable under Rule 60(b)(5).

                The only other possible font of relief is pursuant to Rule 60(b)(6). Relief under Rule

 60(b)(6) is addressed to the court’s discretion and is available only in “extraordinary circumstances.”

 Liljeberg v. Health Servs. Acq. Corp., 486 U.S. 847, 863-64 (1988). Relief under this rule is

 “circumscribed by public policy favoring finality of judgments and termination of litigation.”

 Waifersong Ltd., Inc. v. Classic Music Vending, 976 F.2d 290, 292 (6th Cir. 1992). A change in

 decisional law is usually not, by itself, an extraordinary circumstance. See Agostini v. Felton, 521

 U.S. 203, 239 (1997); Blue Diamond Coal Co. v. Trustees of the UMWA Combined Ben. Fund, 249

 F.3d 519, 524 (6th Cir. 2001). There must be a change in decisional law “coupled with some other

 special circumstance” to grant relief under Rule 60(b)(6). Blue Diamond, 249 F.3d at 524; Hooper

 v. Euclid Manor Nursing Home, 867 F.2d 291, 294 (6th Cir. 1989) (claim of strictly legal error “not

 cognizable under Rule 60(b)(6) absent extraordinary circumstances.”).

                Petitioner has not pointed to any special circumstance justifying the grant of relief

 under Rule 60(b)(6) on the basis of a change in decisional law. To be sure, this Court’s Judgment


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 of August 16, 1999 was correct when rendered, as evidenced by the Sixth Circuit’s subsequent denial

 of Petitioner’s application for a certificate of appealability. By denying the certificate, the Court of

 Appeals concluded that jurists of reason would not find the district court’s procedural ruling to be

 debatable, on the basis of the law as it then existed. See Slack v. McDaniel, 529 U.S. 473, 484

 (2000). The decision of this Court was further supported by the Sixth Circuit’s subsequent decision

 in Isham. The operation of Rule 60(b)(6) is tempered by the general policy in favor of the finality

 of judgments. Waifersong, 976 F.2d at 292. That policy militates in favor of the finality both of this

 Court’s Judgment and of the now two-decades-old criminal judgments which Petitioner seeks

 permission to challenge.

                  After the Supreme Court’s recent decision in Gonzalez v. Crosby, there is no doubt

 that the Sixth Circuit’s decision in Abela does not constitute “extraordinary circumstances” that

 would warrant relief under FED . R. CIV . P. 60(b)(6). In Gonzalez, the Supreme Court considered

 whether its decision in Artuz v. Bennett, 531 U.S. 4 (2000), even assuming that it rendered the

 district court’s previous untimeliness ruling incorrect, was an extraordinary circumstance justifying

 reopening of the habeas judgment. The Supreme Court held in Artuz that an application for post-

 conviction relief that contains procedurally barred claims is still “properly filed” for purposes of the

 tolling provision “when its delivery and acceptance are in compliance with the applicable laws and

 rules governing filings,” including the time limits for filing. Id. at 8. In finding that the decision in

 Artuz did not meet the extraordinary circumstances requirement of Rule 60(b)(6), the Supreme Court

 stated,

           As we noted above, however, relief under Rule 60(b)(6)--the only subsection
           petitioner invokes--requires a showing of “extraordinary circumstances.” Petitioner
           contends that Artuz’s change in the interpretation of the AEDPA statute of
           limitations meets this description. We do not agree. The District Court’s
           interpretation was by all appearances correct under the Eleventh Circuit’s

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         then-prevailing interpretation of 28 U.S.C. § 2244(d)(2). It is hardly extraordinary
         that subsequently, after petitioner’s case was no longer pending, this Court arrived
         at a different interpretation. Although our constructions of federal statutes
         customarily apply to all cases then pending on direct review, see, e.g., Harper v.
         Virginia Dept. of Taxation, 509 U.S. 86, 97, 113 S.Ct. 2510, 125 L.Ed.2d 74 (1993),
         not every interpretation of the federal statutes setting forth the requirements for
         habeas provides cause for reopening cases long since final. If Artuz justified
         reopening long-ago dismissals based on a lower court’s unduly parsimonious
         interpretation of § 2244(d)(2), then Pace v. DiGuglielmo, 544 U.S. ----, 125 S.Ct.
         1807, 161 L.Ed.2d 669 (2005), would justify reopening long-ago grants of habeas
         relief based on a lower court’s unduly generous interpretation of the same tolling
         provision.

 Gonzalez, 125 S. Ct. at 2650-51 (footnotes omitted). Like Gonzalez, Petitioner argues in this case

 that the Sixth Circuit’s decision in Abela constitutes extraordinary circumstances. Under Gonzalez,

 it is clear that a decision affecting a court’s calculation of the statute of limitations, such as Abela,

 does not create an extraordinary circumstance that would warrant relief under FED . R. CIV . P.

 60(b)(6). Accordingly, Petitioner is not entitled to relief from the Court’s Judgment dismissing his

 petition as time-barred.

                                               Conclusion

                 For the foregoing reasons, the Court also finds that Petitioner has not alleged grounds

 for relief under Rule 60(b). His motion for relief from judgment will therefore be denied.

                 An Order consistent with this Opinion will enter.

                                                 /s/ Richard Alan Enslen
 DATED in Kalamazoo, MI:                         RICHARD ALAN ENSLEN
     March 24, 2006                              SENIOR UNITED STATES DISTRICT JUDGE




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